Case 2:19-cr-20026-GAD-EAS ECF No. 107 filed 09/05/19       PageID.528      Page 1 of 2



                            United States District Court
                            Eastern District of Michigan
                                 Southern Division


United States of America,

            Plaintiff,                       Criminal No. 19-cr-20026
v.
                                             Hon. Gershwin A. Drain
D-2 Suresh Reddy Kandala,

            Defendant.


                         Preliminary Order of Forfeiture



      Based on the Indictment, the Fourth Forfeiture Bill of Particulars,

Defendant’s guilty plea, the United States’ Application for Entry of Preliminary

Order of Forfeiture, and other information in the record, and pursuant to 18 U.S.C.

§ 982(a)(6) and 18 U.S.C. § 981(a)(1)(C) together with 28 U.S.C. § 2461(c), IT IS

HEREBY ORDERED AND ADJUDGED THAT:

      Defendant Suresh Reddy Kandala (“Defendant”) shall forfeit to the United

States any property involved in his violation of Count One of the Indictment in

violation of 18 U.S.C. § 371 pursuant to 18 U.S.C. § 982(a)(6) and/or 18 U.S.C.

§ 981(a)(1)(C), together with 28 U.S.C. § 2461(c).

      A forfeiture money judgment is granted and entered against Defendant in

favor of the United States in the amount of $3,000, which is an amount that
Case 2:19-cr-20026-GAD-EAS ECF No. 107 filed 09/05/19         PageID.529    Page 2 of 2




constitutes, or was derived from, gross proceeds obtained, directly or indirectly,

from Defendant Kandala’s violation of Count One of the Indictment.

      The money judgment may be satisfied, to whatever extent possible, from any

property owned or under the control of Defendant. To satisfy the money judgment,

any assets that Defendant has now, or may later acquire, may be forfeited as

substitute assets under 21 U.S.C. § 853(p) as incorporated by 18 U.S.C. § 982(b),

up to the value of the forfeitable property.

      THIS COURT FURTHER ORDERS that this Preliminary Order of

Forfeiture shall become final as to Defendant at sentencing, be made part of

Defendant’s sentence and included in his Judgment.

      THIS COURT FURTHER ORDERS, pursuant to Federal Rule of Criminal

Procedure 32.2(e), that it retains jurisdiction to enforce this Preliminary Order of

Forfeiture and to amend it as necessary, to include increasing the forfeiture money

judgment amount if the court determines at sentencing that Defendant obtained

more than $3,000 as a result of his violation of Count One of the Indictment.

IT IS SO ORDERED.

Dated: 9/5/2019                  s/Gershwin A. Drain
                                 HONORABLE GERSHWIN A. DRAIN
                                 United States District Court Judge




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